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IN THE UNITED sTATEs DISTRICT coURT may
FoR THE WESTERN DIsTRIcT oF TENNESSEE "" "_"“‘°‘°'
WESTERN DIVISION osM_u_ AHH:Z[.
AUNDREY ME:ALS, HIOU|`SA%§'THG§XTL(%W
individually, and as next Wk)@}:m MEMPHS

friend of JAMES HARVEY MEALS,
deceased, and as natural
parent, guardian, and next
friend of WILLIAM MEALS,

a minor child,

Plaintiffs,
v. No. 03-2077 Ml/An
CITY OF MEMPHIS, TENNESSEE,

BRIDGETTE KING, and
FORD MDTOR COMPANY,

vvvvvvv\i\ivvvv\_¢\_¢vv

Defendants.

 

ORDER STAYING CASE AND DENYING ALL PENDING MOTIONS WITHOUT
PREJUDICE

 

Before the Court is the Joint Motion to Stay Discovery and
Pending Deadlines cf Defendants City of Memphis and Bridgette
King, filed June 21, 2005. The Court held a telephone conference
On Thursday, June 30, 2005, to discuss Defendants' motion.
Plaintiffs were represented by J. Houston Gordon, Esq. and Kim
Linville, Esq. Defendant Bridgette King was represented by Jean
Markowitz, Esq. Defendant City cf Memphis, Tennessee was
represented by Robert Meyers, Esq. and Amber Isom-Thompson, Esq.
Defendant Ford Motor Ccmpany was represented by Emily Landry,
Esq., John Bibb Jr., Esq., Sandra Ezell, Esq., and Candace

Blydenburgh, Esq.

Th!s document entered on the doc
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with Fiure 58 and/or 79(a) FRCP on ' “' g p nos

 

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On June 15, 2005r Defendant Bridgette Kinq filed a notice of
appeal from the Court's June 6, 2005, Order Granting in Part and
Denying in Part Motion of Defendant Bridgette King to Dismiss
and/or in the Alternative for Summary Judgment. (Docket No. 302.)
On June 20, 2005, Defendant City of Memphis, Tennessee filed a
notice of appeal of that order as well as the Court’s April ll,
2005, Order Granting in Part and Denying in Part Defendant City
of Memphis’ Motion for Summary Judgment. (Docket No. 288.)
Pursuant to the discussion at the conference, Defendants' motion
is GRANTED and the instant case is STAYED as to all Defendants
pending Defendants’ appeals. Additionally, all motions currently
pending before the Court are DENIED, without prejudice.l

A telephone conference has been set for §§igay¢_gangary_L§L
2006. at 9:00 a.m. Defendant City of Memphis, Tennessee shall
initiate the call with all parties on the line.

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50 0RDERED this \‘> day of July, 2005.

_ QMU

JON . MCCALLA
UNI ED STATES DISTRICT JUDGE

 

 

1 The parties may renew any motions currently pending by
submitting a notice of renewal after Defendants' appeals have
been resolved.

   

UNITE STATES DISTRICT OURT - WESTR"DTEISRICOF TNNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 338 in
case 2:03-CV-02077 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

